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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                             )        CHAPTER 13
KAPRICE GLYNDINA JOHNSON                           )        CASE NUMBER A16-54405-JWC
                                                   )        JEFFERY W. CAVENDER
    DEBTOR                                         )

                  CHAPTER 13 TRUSTEE'S NOTICE OF COMPLETED PLAN
                         (11 U.S.C. § 522(q)(1) MAY NOT APPLY)

          COMES NOW, Nancy J. Whaley, Standing Chapter 13 Trustee, in the above styled action and
files this Notice of Completed Plan, and respectfully shows the Court the following:

        The Chapter 13 Trustee has verified that each Debtor in this case has completed payments to
creditors pursuant to the terms of the confirmed plan.

       1. Each Debtor shall complete and file with the Court the attached Debtor’s 11 U.S.C. §
1328 Certificate concerning domestic support obligations and previous discharges.

       2. Each Debtor must file a certificate of completion of an approved instructional course
concerning personal financial management.

       Each Debtor has 45 days from the date of this notice to file the required documents. If
each Debtor fails to file all of the documents, the Court may close the case without a discharge.

        The Trustee does not believe that 11 U.S.C. § 522(q)(1) applies in this case.

         The Chapter 13 Trustee respectfully requests that this Court review this case to determine if
each Debtor is eligible for discharge and whether all requirements of 11 U.S.C. § 1328 have been met,
and if appropriate, enter an Order of Discharge.

        The Chapter 13 Trustee’s Final Report and Account will be submitted as soon as all payments
made to creditors on behalf of Debtor in this case have been negotiated and no outstanding
disbursements remain. This case will remain open, pending receipt of the Chapter 13 Trustee’s Final
Report and Account and an Order discharging the Trustee is entered.


                                                    Respectfully Submitted,

                                                    /s/______________________
                                                    Nancy J. Whaley Chapter 13 Trustee
                                                    GA. Bar No. 377941
                                                    Suite 120, 303 Peachtree Center Avenue NE
                                                    Atlanta, GA 30303
                                                    678-992-1201
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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                        )       CHAPTER 13
KAPRICE GLYNDINA JOHNSON                      )       CASE NUMBER A16-54405-JWC
                                              )       JEFFERY W. CAVENDER
   DEBTOR                                     )

                       DEBTOR'S 11 U.S.C. § 1328 CERTIFICATE

This Certificate must be completed and filed with the court in order for each debtor to receive
a discharge. In joint cases, a separate Certificate must be completed and signed by each
debtor. This Certificate should be filed after the debtor has completed all payments (as
required by the Plan or as specified by order of the Court).

        I declare under penalty of perjury that the information provided in this Certificate
is true and correct.

A. Appropriate Box Must Be Checked:

       ¨ 1. During the time this bankruptcy case has been pending, I have not been required
       to pay a domestic support obligation (such as child support, maintenance or alimony) by
       any order of a court or administrative agency or by any statute.

       ¨ 2. During the time this bankruptcy case has been pending, I have paid all domestic
       support obligations (such as child support, maintenance or alimony) as required under
       any order of a court or administrative agency or under any statute.

       ¨ 3. During the time this bankruptcy case has been pending, I have not paid all
       domestic support obligations, such as child support, maintenance or alimony, as required
       by an order of a court or administrative agency or by statute.

If you were obligated to pay a domestic support obligation, please complete the
information below. If not, skip to paragraph B.

       The name and address of each holder of a domestic support obligation are:

       Name:__________________________              My Current Address:
       Address:________________________                   _____________________________
       _______________________________              _____________________________
       _______________________________              _____________________________
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      My Current Employer is:
      Name: ________________________________
      Address: ______________________________
      ______________________________________
      ______________________________________


B.    ¨ 1. I have NOT received a discharge in a Chapter 7, 11, or 12 bankruptcy case filed
      within 4-years prior to filing this case.

      ¨ 2. I have received a discharge in a Chapter 7, 11, or 12 bankruptcy case filed within
      4-years prior to filing this case.

C.    ¨ 1. I have NOT received a discharge in another Chapter 13 bankruptcy case filed
      within 2-years prior to filing this case.

      ¨ 2. I have received a discharge in another Chapter 13 bankruptcy case filed within
      2-years prior to filing this case.

By signing this Certificate, I ackowledge that all of the statements contained herein are
true and accurate and that the Court may rely on the truth of each of these statements in
determining whether to grant me a discharge in this case. The court may revoke my
discharge if my statements are not accurate..

DATE: ____________________                  __________________________________
                                            Debtor
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                                   CERTIFICATE OF SERVICE

Case No: A16-54405-JWC

This is to certify that I have this day served the following with a copy of the foregoing Chapter
13 Trustee's Notice of Completed Plan and 11 U.S.C § 1328 Certificate by depositing in the
United States mail a copy of same in a properly addressed envelope with adequate postage
thereon.

Debtor(s):
KAPRICE GLYNDINA JOHNSON
1595 SAN GABRIEL AVE
DECATUR, GA 30032


By Consent of the parties, the following have received an electronic copy of the foregoing
Chapter 13 Trustee's Notice of Completed Plan and 11 U.S.C § 1328 Certificate through the
Court's Electronic Case Filing system.

Attorney for the Debtor(s):
SLIPAKOFF & SLOMKA, PC
se@myatllaw.com




This the 30th day of June, 2020.


/s/____________________________________
  Nancy J. Whaley
  Standing Chapter 13 Trustee
  State Bar No. 377941
  303 Peachtree Center Avenue, NE
  Suite 120
  Atlanta, GA 30303
  678-992-1201
